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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.       18-08211-MATTHEWMAN

  UNITED STATES OF AMERICA,
                Plaintiff,

  vs.

  JOHN JOSEPH O’GRADY,
                    Defendant.
  ______________________________:

    DEFENDANT’S INVOCATION OF RIGHT TO SILENCE AND COUNSEL


        The defendant named above does hereby invoke his rights to remain silent

  and to counsel with respect to any and all questioning or interrogation, regardless of

  the subject matter, including, but not limited to: matters that may bear on or relate

  to arrest, searches and seizures, bail, pretrial release or detention, evidence at trial,

  guilt or innocence, forfeitures; or that may be relevant to sentencing, enhanced

  punishments, factors applicable under the U.S. Sentencing Guidelines, restitution,

  immigration status or consequences resulting from arrest or conviction; appeals or

  other post-trial proceedings.




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        The defendant requests that the U.S. Attorney ensure that this invocation of

  rights is honored, by forwarding a copy of it to all law enforcement agents,

  government officials, or employees associated with the investigation of any matters

  relating to the defendant. Any contact with the defendant must be made through the

  defendant’s lawyer, undersigned counsel.


                                        Respectfully submitted,

                                        MICHAEL CARUSO
                                        Federal Public Defender

                                        s/ Peter Birch
                                        Peter Birch
                                        Assistant Federal Public Defender
                                        Attorney for the Defendant
                                        Florida Bar No. 304281
                                        450 South Australian Avenue, Suite 500
                                        West Palm Beach, Florida 33401
                                        (561) 833-6288 - Telephone
                                        (561) 833-0368 - Fax
                                        Peter_Birch@FD.org




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                              CERTIFICATE OF SERVICE


        I HEREBY certify that on May 10, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.           I also certify that the

  foregoing document is being served this day on all counsel of record via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.


                                         s/ Peter Birch
                                         Peter Birch




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